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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Norfolk Division

MARQUESSES FOREMAN,

       Plaintiff,

v.
                                                   CIVIL ACTION NO.:            2:18cv271
SMITHFIELD FOODS, INC.
                                                           JURY TRIAL DEMANDED
and

SMITHFIELD FARMLAND
CORPORATION,

       Defendants.

                                          COMPLAINT

       The Plaintiff, Marquesses Foreman (“Plaintiff” or “Foreman”), states as follows for her

Complaint against Smithfield Foods, Inc. (“SFI”) and Smithfield Farmland Corporation (“SFC”):

                                  I.    NATURE OF THE CASE

       1.      This is an action for sexual and racial harassment brought under Title VII of the

Civil Rights Act of 1964,42 U.S.C. §2000 et seq. (“Title VII”) and the Civil Rights Act of 1866,

42 U.S.C. §1981. The Defendants, SFI and SFC, discriminated against Foreman because of her

gender and race by subjecting her to unlawful sexual and racial harassment. SFI and SFC then

retaliated against her after she complained of the harassment.

                            II.        JURISDICTION AND VENUE

       2.      This Court has subject matter jurisdiction over this matter pursuant to 42 U.S.C.

§2000e(5) (jurisdiction over cases filed under Title VII); 28 U.S.C. §1331 (federal question

jurisdiction); 28 U.S.C. §1337 (jurisdiction arising from Congressional regulation of commerce)

and 42 U.S.C. §1981 (jurisdiction over cases filed under the Civil Rights Act of 1866).
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       3.      The employment practices hereafter alleged to be unlawful were committed

within the Eastern District of Virginia, and, more specifically, in the City of Smithfield, Virginia.

Accordingly, venue in this judicial district is proper.

                                         III.    PARTIES

       4.      Foreman is a resident and citizen of the Commonwealth of Virginia and the

United States. She currently maintains her principal residence at 31188 Thomas Street, Franklin,

Virginia 23581.

       5.      SFI is a Virginia corporation and conducts business in Smithfield, Virginia and

throughout the United States. It maintains its principal place of business at 200 Commerce

Street, Smithfield, Virginia 23430.

       6.      SFC is a Delaware corporation and conducts business in Smithfield, Virginia and

throughout the United States. It maintains its principal of business at 200 Commerce Street,

Smithfield, Virginia 23430.

       7.      SFC is operated by, and is a wholly owned subsidiary of, SFI. The Defendants

have common ownership, an integrated management structure, and their operations and

operational plans are intertwined. The corporate purposes of SFC are subsumed within the

corporate purposes of SFI; SFC has no corporate purposes which are separate or apart from SFI.

The managing officers of SFC ultimately report to, answer to, and effect the business purposes of

SFI and did so at all times relevant to this Complaint. The human resources policies and

practices of SFI and SFC, as well as the professionals responsible for effecting these policies and

practices, are one and the same.




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       8.      At all times relevant to this action, the Plaintiff was an “employee” of SFC and

SFI as that term is defined under Title VII (hereinafter the terms “Smithfield” and/or

“Defendant(s)” shall, unless otherwise indicated, mean SFI and SFC collectively).

                       IV.     ADMINISTRATIVE PREREQUISITES

       9.      The Plaintiff has met all administrative prerequisites to filing the Title VII claims

in this action, including the filing of a timely Charge of Discrimination with the Equal

Employment Opportunity Commission (“EEOC”) and bringing this action within 90 days of the

issuance of the Notice of Right to Sue that she has received from the EEOC. No administrative

prerequisites are required for the §1981 claims asserted herein.

                                          V.     FACTS

       10.     Foreman began her employment with Smithfield in November of 1998. She was

promoted to training crew leader in 2006.

       11.     Joseph Moulton became Foreman’s supervisor in approximately September of

2014. Upon information and belief, he remains employed by Smithfield to this day.

       12.     Foreman was subjected to highly offensive racial and sexual harassment from

Moulton from the time of his arrival at the Smithfield, Virginia facility in September of 2014

until late spring of 2016. After enduring Moulton’s sexual and racial harassment for a couple of

months, she complained to Smithfield’s human resources department, specifically Richard Dean.

She made several complaints to Dean about Moulton’s sexual and racial harassment of her from

approximately late 2014 until late spring of 2016. Foreman also made complaints to Whitney

Pendleton, an official in Smithfield’s human resources department as well. No action was ever

taken to correct Moulton’s sexual and racial harassment of Foreman until late spring of 2016.

Foreman suffered various acts of retaliation as a result of her complaints.



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       13.     Moulton constantly subjected Foreman to sexual and racial statements, acts of

sexual assault and battery, sexual innuendo and sexual advances.

       14.     The following are merely examples of the types of comments and conduct to

which Moulton subjected Foreman on a frequent basis. Conduct of the types identified below

occurred very frequently, on at least a weekly basis, between the early fall of 2014 to late spring

of 2016:

               a)      Moulton would touch Foreman’s breasts with his hand – this conduct was
                       offensive to her and constituted assault and sexual battery;

               b)      Moulton showed Foreman a picture he took on his phone of his penis;

               c)      Moulton would talk about Foreman’s body, particularly her rear end and
                       her breasts;

               d)      Moulton would show Foreman pictures of himself shirtless and ask her to
                       go to the beach with him;

               e)      Moulton would make statements regarding how he was tired of “making
                       love to his hand”;

               f)      Moulton would frequently ask Foreman out on dates;

               g)      Moulton would send Foreman highly offensive sexual and racial
                       photographs and text messages;

               h)      Moulton delighted in sending Foreman pictures of and making reference
                       to racist images along with racist captions or simply speaking of the racist
                       image or subject matter while making other racist statements;

               i)      Moulton would make racial comments that Foreman and her black
                       colleagues could not do certain tasks because they are black;

               j)      Moulton would say to Foreman that he should fire all the black people and
                       bring in Mexicans because they were more efficient and could get the job
                       done for less pay; and

               k)      Moulton hit Foreman’s rear with a rolled up paper – this conduct was
                       offensive to her and constituted assault and sexual battery.




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        15.    Moulton’s actions have caused Foreman a great deal of stress, anxiety, mental

anguish and have greatly harmed her quality of life, especially the quality of her professional

life.

        16.    Smithfield had actual knowledge of Moulton’s dangerous and harmful

propensities from sources other than Foreman, including his propensity to subject female

subordinates to acts of sexual harassment, because other employees had complained about him in

the past. In late 2015 or early 2016, Moulton exposed himself to a female colleague of

Foreman’s. The colleague complained to management, but nothing was done until the late

spring of 2016 when Foreman provided Richard Dean with certain pictures and text messages

that Moulton had sent her.

        17.    At all times relevant to this mater, the conduct to which Foreman was subjected

was unwelcomed and she asked Moulton to cease his conduct on several occasions.

        18.    After Foreman first complained about Moulton’s conduct to Richard Dean in late

2015, her work hours were cut significantly. As a result of the cutting of her work hours,

Foreman suffered a decrease in income of more of than 20%. This diminution of income began

in the winter of 2015 and continues to this day.

        19.    The actions identified in this Complaint were committed willfully, maliciously,

and with gross disregard for Foreman’s well-being. All of the acts set forth in this Complaint

were committed by Moulton, a Smithfield employee, who was acting in the course and scope of

his employment with Smithfield when he committed these acts. Smithfield negligently retained

Moulton despite having actual knowledge of his dangerous propensities.

        20.    As a direct, actual, and proximate result of the acts described herein, Foreman has

suffered significant pecuniary and non-pecuniary damages. Her career with Smithfield has been



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significantly harmed. She has suffered significant loss of pay and benefits. Moreover, she has

suffered significant mental anguish, pain, suffering, emotional distress, loss of sleep, humiliation,

and loss of quality of life.

          21.   Smithfield’s conduct in this matter had the effect of materially and adversely

altering, in an illegal and discriminatory fashion, the terms and conditions of Foreman’s

employment with them.

          22.   Smithfield’s conduct described herein rendered Foreman insecure in her person,

placed her at risk of physical and psychological harm, actually caused her such harm, and

destroyed her ability to enjoy all benefits, privileges, terms and conditions of her employment

with Smithfield.

                                               COUNT I

                               Sexual Harassment in Violation of Title VII

          23.   The allegations set forth in paragraphs 1 through 22, above, are incorporated into

this Count by reference.

          24.   The conduct to which Foreman was subjected by Moulton was unwelcomed.

Moulton’s harassment of Foreman was severe, created a hostile working environment, and was

sexual in nature. Moulton subjected Foreman to the harassment described herein because of her

gender.

          25.   The Defendants’ conduct, their failure to prevent Moulton’s actions, and their

failure to take responsible action upon learning of these offenses constituted unlawful sexual

harassment.

          26.   The Defendants’ conduct in allowing the sexual harassment to occur was

outrageous, intentional, willful, malicious and committed with reckless indifference to



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Foreman’s rights. Foreman has suffered significant harm as a result, including significant

pecuniary and non-pecuniary damages, for which each Defendant is liable.

                                              COUNT II

                               Retaliation in Violation of Title VII

       27.      The allegations set forth in paragraphs 1 through 22, above, are incorporated into

this Count by reference.

       28.      After Foreman complained about the conduct related herein to Richard Dean, a

human resources professional for the Defendants, her hours were cut significantly. Her hours

were cut because she complained and, as a result, she has suffered significant financial harm.

       29.      The Defendants’ conduct constitutes retaliation in violation of Title VII.

       30.      The Defendants’ retaliation against Foreman under these conditions was

outrageous, intentional, willful, and malicious and Foreman has suffered significant harm as a

result, including significant pecuniary and non-pecuniary damages, for which each of the

Defendants is jointly and severally liable.

                                              COUNT III

                       Racial Harassment in Violation of 42 U.S.C. §1981

       31.      The allegations set forth in paragraphs 1 through 22, above, are incorporated into

this Count by reference.

       32.      The Defendants’ conduct constitutes unlawful racial harassment in violation of 42

U.S.C. §1981.

       33.      Foreman was subjected to intense racial harassment of a deeply offensive nature.

She was harassed because of her race and the harassment was sufficiently pervasive so as to

adversely alter her employment conditions and create a hostile working environment.



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       34.      The Defendants’ racial harassment of Foreman under these conditions was

outrageous, intentional, willful and malicious and Foreman has suffered significant harm as a

result, including significant pecuniary and non-pecuniary damages for which each of the

Defendants is jointly and severally liable.

                                              COUNT IV

                              Retaliation in Violation of 42 U.S.C. §1981

       35.      The allegations set forth in paragraphs 1 through 22, above, are incorporated into

this Count by reference.

       36.      After Foreman complained about the conduct related herein to Richard Dean, a

human resources professional for the Defendants, her hours were cut significantly. Her hours

were cut because she complained about racial harassment and, as a result, she has suffered

significant financial harm.

       37.      The actions set forth herein constitute unlawful retaliation in violation of 42

U.S.C. §1981.

       38.      The Defendants’ retaliation against Foreman under these conditions was

outrageous, intentional, willful, and malicious and Foreman has suffered significant harm as a

result, including significant pecuniary and non-pecuniary damages for which each of the

Defendants is jointly and severally liable.

       WHEREFORE, Marquesses Foreman, for all Counts set forth herein, respectfully prays

that this Court:

       1)       Order each Defendant to institute and carry out policies, practices and programs

to provide equal employment opportunities to qualified individuals and which eradicate the

effects of past and present unlawful employment practices;



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       2)      Order each of the Defendants to make the Plaintiff whole with appropriate lost

earnings, future lost earnings, and compensation for loss of future pensions and benefits in

amounts to be proved at trial, with pre-judgment and post-judgment interest as applicable;

       3)      Order each of the Defendants to make the Plaintiff whole by providing her with

all compensation contemplated under Title VII, the Civil Rights of 1991, 42 U.S.C. §1981a, and

the Civil Rights Act of 1866, 42 U.S.C. §1981 for non-pecuniary losses including, without

limitation, emotional pain, suffering, inconvenience, mental anguish, humiliation, loss of

reputation and loss of quality and enjoyment of life in amounts to be proved at trial, with pre-

judgment and post-judgment interest as applicable;

       4)      Order each of the Defendants to pay the Plaintiff punitive damages in amounts to

be proved at trial and which are sufficient to prevent this conduct in the future, with pre-

judgment and post-judgment interest as applicable;

       5)      Order each of the Defendants to pay the Plaintiff’s reasonable attorney’s fees,

expert fees and all costs incurred in bringing and prosecuting this action with pre-judgment and

post-judgment interest as applicable; and

       6)      All other and further relief as this Court deems appropriate.

                                  JURY TRIAL DEMANDED

       Plaintiff requests a jury trial on issues raised in this Complaint.

                                              Respectfully submitted,

                                              MARQUESSES FOREMAN


                                              By:     /s/ James H. Shoemaker, Jr.
                                                             Of Counsel




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